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 7                           UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     UNITED STATES OF AMERICA,                            NO. CR04-512-MJP
10
                                      Plaintiff,
11

12          v.                                            SUMMARY REPORT OF
                                                          U.S. MAGISTRATE JUDGE AS
13   JAMES EDWARD GRATTON,                                TO ALLEGED VIOLATIONS
                                                          OF SUPERVISED RELEASE
14                                    Defendant.
15
            An initial hearing on a petition for violation of supervised releaset was held before the
16
     undersigned Magistrate Judge on December 8, 2010. The United States was represented by
17
     Assistant United States Attorneys Tessa Gorman and the defendant by Allen Bentley.
18
            The defendant had been charged and convicted of Conspiracy to Commit Bank Fraud,
19
     in violation of 18 U.S.C. § 1349. On or about January 31, 2006, defendant was sentenced in
20
     the by the Honorable Marsha J. Pechman, to a term of 60 months in custody, to be followed by
21
     5 years of supervised release.
22
            The conditions of supervised release included the requirements that the defendant
23
     comply with all local, state, and federal laws, and with the standard conditions. Special
24
     conditions imposed included, but were not limited to, participation in a substance abuse
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     programs; financial disclosure; search; DNA collection; abstain from the use of alcohol and/or
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
          Case 2:04-cr-00512-MJP           Document 552         Filed 12/09/10      Page 2 of 3




 1   all other intoxicants; participate in a drug treatment program; maintain a single checking

 2   account; disclose business records, assets, and liabilities to the probation office; prohibited

 3   from incurring new credit charges without approval of the probation officer; shall not obtain or

 4   possess any form of identification in any other name other than defendant’s true name; and

 5   restitution in the amount of $112,517.45.

 6          In a Petition for Warrant or Summons for Offender Under Supervision dated November

 7   5, 2010, U.S. Probation Officer Andrew Lorenzen asserted the following violations by

 8   defendant of the conditions of his supervised release:

 9             1.     Failing to submit monthly reports within the first five days of every month for

10                    the months of August, September, and October, 2010, in violation of standard

11                    condition #2.

12             2.     Committing the crime of Theft in Olympia, Washington, on or about October

13                    25, 2010, in violation of the general condition that he not commit a federal,

14                    state, or local crime.

15             3.     Possessing a controlled substance on or about October 26, 2010, in violation

16                    of standard condition #7.

17             4.     Failing to notify the probation office of a change in residence on or about

18                    September 9, 2010, in violation of standard condition #6.

19          The defendant was advised of his rights, acknowledged those rights, and admitted to

20   alleged violations 1, 2, and 4. Defendant denied alleged violation 3, and requested that an

21   evidentiary hearing be set on the same day as a disposition hearing before the Honorable

22   Marsha J. Pechman on the alleged violations.

23          I therefore recommend that the Court find the defendant to have violated the terms and

24   conditions of his supervised release as to violations 1, 2 and 4 and that the Court conduct an

25   evidentiary/disposition hearing on alleged violation 3. A disposition hearing on violations 1, 2

26


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
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 1   and 4, and an evidentiary/disposition hearing on alleged violation 3, has been set for December

 2   17, 2010 at 11:00 a.m. before the Honorable Marsha J. Pechman.

 3          Pending a final determination by the Court, the defendant has been detained.

 4          DATED this 8th day of December, 2010.

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 6
                                                 AJAMES P. DONOHUE
 7                                                United States Magistrate Judge

 8
     cc:    District Judge:               Honorable Marsha J. Pechman
 9
            AUSA:                         Tessa Gorman
10          Defendant’s attorney:         Allen Bentley
            Probation officer:            Andrew Lorenzen
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 3
